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 8

 9                                UNITED STATES DISTRICT COURT
10                         NORTHERN DISTRICT OF CALIFORNIA -
11                                   SAN FRANCISCO DIVISION
12   ROCKHILL INSURANCE COMPANY,                      Case No.: 3:21-CV-09408-TSH
13
                     Plaintiff,      ROCKHILL INSURANCE
14                                   COMPANY’S FIRST AMENDED
           v.                        COMPLAINT FOR: (1) EQUITABLE
15                                   CONTRIBUTION – DEFENSE; (2)
     ASSOCIATED INDUSTRIES INSURANCE EQUITABLE CONTRIBUTION –
16   COMPANY, INC.; and DOES 1-50,   INDEMNITY; AND (3)
                                     DECLARATORY RELIEF
17              Defendants.

18

19          COMES NOW Plaintiff, ROCKHILL INSURANCE COMPANY (“Rockhill”), by

20   and through its attorneys, asserting its First Amended Complaint for claims of relief against

21   Defendants, and each of them, as follows:

22                       NATURE OF ACTION AND RELIEF SOUGHT

23          1.      This insurance coverage action arises out of an underlying construction

24   defect matter entitled Benicia Mullikin v. Kelly Domer Partners, Inc., San Francisco County

25   Superior Court Case No. CGC-19-574232 (the “Underlying Action”), relating to the

26   renovation of the Mullikin Residence at 28 25th Avenue in San Francisco, California (the

27   “Property”).

28   ///

                                                 1.
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 1          2.      Defendant Associated Industries Insurance Company, Inc. (“Associated
 2   Industries”), has failed and refused to honor its defense obligation to the parties’ mutual
 3   insured, Kelly Domer Partners, Inc. dba Kelly Pacific Construction Co. (“Kelly Pacific”),
 4   with respect to the Underlying Action, causing Rockhill to incur a disproportionate share of
 5   defense of Kelly Pacific in the Action.
 6                                           THE PARTIES
 7          3.      Rockhill was, at all relevant times herein, a corporation organized and
 8   existing under the laws of the State of Arizona, with its principal place of business in
 9   Missouri. Rockhill was and is authorized to transact business in the State of California.
10          4.      Rockhill alleges on information and belief that Associated Industries is a
11   Florida corporation with its principal place of business in Florida, and is authorized to
12   transact business in the State of California.
13          5.      DOES 1 through 50, inclusive, are sued herein under fictitious names. Their
14   true names, capacities and respective liabilities are unknown to Rockhill at this time. When
15   their true names, capacities, and respective liabilities are ascertained, Rockhill will seek
16   leave to amend this Complaint to assert the true names, capacities, and liabilities.
17          6.      Rockhill is informed, believes, and thereon alleges that each defendant was,
18   and at all times mentioned herein is, acting as an agent and/or employee for other
19   defendants, and each of them, and at all times was acting within the course and scope of said
20   agency and/or employment.
21          7.      Rockhill is informed, believes, and thereon alleges each Defendant
22   designated as “DOE” is in some manner liable or responsible to Rockhill and/or involved in
23   some manner on the facts alleged herein.
24                                          JURISDICTION
25          8.      This Court has jurisdiction under 28 U.S.C. § 1332 because this is a civil
26   action between citizens of different states and the amount in controversy exceeds $75,000,
27   exclusive of interest and costs.
28   ///
                                                     2.
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 1          9.      The amount in controversy includes, but is not limited to, the sums that
 2   Rockhill contends the Defendants owe in connection with Kelly Pacific’s defense in
 3   connection with the Underlying Action.
 4                                               VENUE
 5          10.     Venue is proper in this District under 28 U.S.C. § 1391 because a substantial
 6   part of the alleged events and/or omissions giving right to the claims occurred here,
 7   including but not limited to the Property at issue being located in this District, the
 8   Underlying Action being venued in this District, and the Defendants breaching their
 9   obligations owed in this District.
10                                INTRADISTRICT ASSIGNMENT
11          11.     Pursuant to Local Rule 3-2, assignment of this case to the San Francisco
12   Division is proper because the action arises in the San Francisco Division due to the
13   Property at issue being located in the San Francisco Division, the Underlying Action being
14   venued in the San Francisco Division, and the Defendants breaching their obligations owed
15   in the San Francisco Division.
16                                    GENERAL ALLEGATIONS
17                                        The Underlying Action
18          12.     Rockhill is informed and believes and based thereon alleges that the Sprague
19   Mullikin Living Trust, owners of the Property, entered into an AIA contract with general
20   contractor Kelly Pacific on or about October 10, 2013 for a renovation of the Property.
21          13.     Kelly Pacific thereafter entered into a subcontract with Defendant’s named
22   insured, Diamond DSP, Inc. on September 14, 2016 to perform stucco work at the Property.
23          14.     The subcontract required Diamond DSP to name Kelly Pacific as an
24   additional insured on their respective Commercial General Liability Policies as follows:
25          SECTION 12. INSURANCE. Subcontractor shall, at its expense, procure
            and maintain insurance on all of its operations, with carriers acceptable to
26          Contractor, and in amounts acceptable to Contractor and as required by the
            prime contract, including the following coverages:
27
            12.1 Casualty Insurance
28

                                                    3.
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 1          a. Workers Compensation and Employers Liability Insurance
            b. Commercial General Liability Insurance (ISO Form CG 00 01) covering
 2             all operations and
            c. Automobile Liability Insurance, including coverage for all owned, hired
 3             and non-owned automobiles
 4          All insurance coverage shall be in amounts and for durations acceptable to
            Contractor and as required by the prime Contract, Subcontractor shall name
 5          Contractor as an additional insured under the Commercial Liability policy
            using ISO Form CG 20 10. Subcontractor shall provide certificate of
 6          insurance to Contractor prior to commencement of the work.
 7          15.     On March 4, 2019, underlying plaintiff Benicia Mullikin (co-trustee of the

 8   Sprague Mullikin Living Trust) filed a Complaint in the San Francisco Superior Court

 9   against Kelly Pacific, alleging construction defects and damages arising out of the work

10   performed at the Property.

11          16.     The Underlying Action includes allegations of significant property damage

12   arising out of Diamond SP’s stucco work including but not limited to water leaking into the

13   interior of the Property through the stucco, causing resultant property damage.

14          17.     On October 31, 2019, Kelly Pacific filed a Cross-Complaint in the

15   Underlying Action against Diamond DSP, and other subcontractors, asserting causes of

16   action for Breach of Contract (failure to defend), Breach of Contract (failure to insured),

17   Express Indemnity, Equitable Indemnity, Contribution, and Declaratory Relief.

18                                      The Insurance Policies

19          18.     Rockhill issued primary Commercial General Liability policy number

20   RCGLPG00642-03, effective June 7, 2017 through June 7, 2018, to Kelly Pacific (the

21   “Rockhill Policy”). Kelly Pacific tendered its defense to Rockhill who agreed to participate

22   in Kelly Pacific’s defense in the Underlying Action subject to a reservation of rights.

23          19.     Rockhill is informed and believes and based thereon alleges that Associated

24   Industries issued one or more primary Commercial General Liability policies to Diamond

25   DSP (the “Associated Industries Policies”) which provided coverage in connection with the

26   Underlying Action. Kelly Pacific’s defense and indemnity as an additional insured under

27   the Associated Industries Policies was tendered to Associated Industries not later than April

28   30, 2019.

                                                   4.
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 1           20.     On December 7, 2021, for the first time, Associated Industries responded to
 2   the additional insured tender, and denied any obligation to defend or indemnify Kelly
 3   Pacific in connection with the Underlying Action. Rockhill alleges that the denial is
 4   improper. For example, Associated Industries asserted, as one basis for its denial, that no
 5   property damage was caused, in whole or in part, by Diamond DSP’s work prior to
 6   completion of the Property on April 2, 2018. This is incorrect. The window scratches that
 7   implicate Diamond DSP’s scope of work are alleged to have occurred in March of 2018.
 8   The stucco cracks and resultant damage therefrom are also alleged to have occurred in this
 9   same time period.
10           21.     On April 30, 2019, Kelly Pacific also tendered its defense to Allied World
11   Insurance Company (“Allied”) who issued coverage to the painting subcontractor, Giesen
12   Painting Co. Allied World acknowledged an obligation was triggered on behalf of Kelly
13   Pacific as an additional insured under the coverage it issued to Giesen Painting Co.
14           22.     Rockhill is informed and believes and based thereon alleges that the
15   insurance policies issued by DOES 1 through 50 to Kelly Pacific and/or its subcontractors
16   provide additional insured Commercial General Liability coverage to Kelly Pacific for the
17   allegations in the Underlying Action.
18           23.     Rockhill is informed and believes and based thereon alleges that Kelly
19   Pacific tendered the Underlying Actions to each of the DOES 1 through 50, and said DOES
20   1 through 50 either refused to defend Kelly Pacific or did not respond to the tenders.
21                           Partial Settlement of the Underlying Action
22           24.     On December 8, 2021, a partial settlement of the Underlying Action was
23   reached as between Kelly Pacific and underlying plaintiff Benicia Mullikin as co-trustee of
24   the Sprague Mullikin Living Trust (“Mullikin”), and settlement was reached as between
25   Kelly Pacific and Cross-Defendant Giesen Painting Co. As part of the settlement of the
26   claims and disputes between Kelly Pacific and Giesen Painting Co., Giesen Painting Co. and
27   its carrier, Allied, assigned to Rockhill all rights, interests, claims, causes of action or any
28   ///
                                                    5.
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 1   kind that Giesen Painting Co. or Allied have or may have against Diamond DSP or
 2   Associated Industries in connection with or arising out of the Underlying Action.
 3                                      FIRST CAUSE OF ACTION
 4                                (Equitable Contribution -Defense)
 5          25.      Paragraphs 1-24, inclusive, are incorporated by reference as though fully set
 6   forth herein.
 7          264.     The allegations against Kelly Pacific in the Underlying Action were for
 8   damages potentially covered by the Associated Industries Policies and/or policies issued by
 9   the DOE Defendants.
10          27.      Defendants were obligated to defend Kelly Pacific in the Underlying Action
11   under their respective policies.
12          28.      Defendants have failed and refused to participate in the Kelly Pacific’s
13   defense of the Underlying Action on Kelly Pacific’s behalf.
14          29.      As a consequence of Defendants’ failure and refusal to fulfill their
15   obligations to defend Kelly Pacific, Rockhill has and continues to incur more than its
16   equitable share of the costs of defense.
17          30.      As a result of Defendants’ wrongful conduct, Rockhill is entitled to an award
18   of equitable contribution to reimburse it for the inequitable costs it has incurred or will incur
19   toward the defense of Kelly Pacific in connection with the Underlying Action.
20                                 SECOND CAUSE OF ACTION
21                              (Equitable Contribution – Indemnity)
22          31.      Paragraphs 1-30, inclusive, are incorporated by reference as though fully set
23   forth herein.
24          32.      Associated Industries was obligated to indemnify Kelly Pacific in the
25   Underlying Action.
26          33.      Associated Industries has failed and refused to contribute toward the
27   settlement of the Underlying Action on Kelly Pacific’s behalf.
28   ///
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 1             34.    Rockhill is informed and believes and based thereon alleges that the
 2   Associated Industries Policies provide the same or substantively similar level of coverage to
 3   Kelly Pacific as Rockhill’s policies.
 4             35.    Based on the foregoing, Rockhill seeks contribution from Associated
 5   Industries for its equitable share of the settlement amounts that have been and will continue
 6   to be incurred by Rockhill on behalf of Kelly Pacific in connection with the Underlying
 7   Action.
 8                                    THIRD CAUSE OF ACTION
 9                                           (Declaratory Relief)
10             36.    Paragraphs 1-35, inclusive, are incorporated by reference as though fully set
11   forth herein.
12             37.    An actual and justiciable controversy has arisen and now exists between
13   Rockhill and Defendants concerning their respective rights, duties and obligations under
14   their respective policies. Rockhill contends that Defendants had a duty to fully and
15   completely defend and indemnify Kelly Pacific in the Underlying Action. Rockhill is
16   informed, believes, and thereon alleges that Defendants contend otherwise.
17             38.    Rockhill contends it has overpaid beyond its equitable share to defend and
18   indemnify Kelly Pacific in connection with the Underlying Action. Rockhill is informed,
19   believes, and thereon alleges that Defendants contend otherwise.
20             39.    A judicial declaration is necessary and appropriate at this time so that the
21   Parties may ascertain their rights, duties, and obligations under their respective policies, and
22   Rockhill requests such a declaration through this action.
23                                                PRAYER
24             Wherefore, Rockhill asks for judgment and seeks the following relief from this Court
25   against Associated Industries and DOES 1 through 50:
26             1.     A judicial determination of the respective rights, duties, and
27                    obligations of Rockhill and Defendants with respect to the duties to defend
28                    and indemnify Kelly Pacific in connection with the Underlying Action;
                                                     7.
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 1         2.     For an award of damages in favor of Rockhill in an amount to equitably
 2                allocate the costs incurred to defend and indemnify Kelly Pacific in
 3                connection with the Underlying Action;
 4         3.     For pre-judgment interest on all sums awarded at the legal rate;
 5         4.     For an award of Rockhill’s costs in this action; and
 6         5.     For such other relief as the Court deems just and proper.
 7

 8   Dated: December 16, 2021                           WOLKIN • CURRAN, LLP
 9                                                        /s/ Catharine M. Tolson
10                                             By:
                                                     Jennifer L. Elowsky, Esq.
11                                                   Catharine M. Tolson, Esq.
                                                       Attorneys for Plaintiff
12                                               ROCKHILL INSURANCE COMPANY
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